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                           IN THE LNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

L|NITED STATES OF AMERICA                          $
                                                   $
     Plaintiff,                                    $
                                                   $
V                                                  s               2:20-CR-15-Z-BR-(31)
                                                   $
CHRISTIAN DANIEL CORDOVA                           $
                                                   $
     Defendant.                                    $


                   ORDER ADOPTING REPORT AND RECOMMENDATION
                           CONCERNING PLEA OF GUILTY

          On September 8, 2020, the United States Magis[ate Judge issued a Report              and

Recommendation Concerning Plea of Guilty ("Report and Recommendation") in the above referenced

cause. Defendant Christian Daniel Cordova     filed no objections to the Report and Recommendation

within the fourteen-day period set forth in 28 U.S.C. $ 636(bxl). The Court independently examined

all relevant matters of record in the above referenced cause-including the elements of the offense,

Factual Resume, Plea Agreement, and Plea Agreement Supplement-and thereby determined that the

Report and Recommendation is correct. Therefore, the Report and Recommendation is hereby

ADOPTED by the United States District Court. Accordingly, the Court hereby FINDS that the guilty

plea of Defendant Christian Daniel Cordova was knowingly and voluntarily entered; ACCEPTS the

guilty plea of Defendant Christian Daniel Cordova; and ADJUDGES Defendant Christian Daniel

Cordova guilty of Count Thirry-Six in violation of 21 U.S.C. $$ 8a1(aXl) and 8a1@)(1)(C). Sentence

will   be imposed in accordance with the Court's sentencing scheduling order.


          SO ORDERED, Septemb      er Zy' ,2020.



                                                       MA       WJ         CSMARYK
                                                               STA     S   DISTRICT JUDGE
